Case 9:25-tp-80012-DMM Document 1 Entered on FLSD Docket 02/18/2025 Page 1 of 16


 PRO B 22                                                                                                                  DOCKET NUMBER (Tran. Court)
 (Rev. 01 /24)
                                                                                                                               I :22 - CR- 33 -BLG-D L C -1

                               TRANSFER OF JURISDICTION                                                                    DOCKET NU MB ER (Rec. Court)

                                                                                                                          25tp80012 Middlebrooks
NA ME AND ADDRESS OF PROB ATIONER/SU PERVISED RELEASEE                              DISTRICT                               DIVISION
                                                                                   Montana                                Billing s
                                                          SW
Adam Alexan der Wi lli ams                                                           AME OF SENTENCING JUDGE
                                               Feb 18, 2025                        D ana L . C hri stensen, U nited States Di stri ct Judge

                                                                                    DATES OF PROBATION/         FROM                        TO
                                                             WPB
                                                                                    SUPERVI SED RELEASE
                                                                                                                    I 0/ 20/20 2 2               I 0/ 19/2 02 5

OFFENSE
Interferen ce With F li g ht Crew Mem bers an d Atte ndants




JUSTIFICATION/REASON FOR TRANS FER (e.g., prosocial ti es, employment/education opportun ities, violation of supervision)
T he defendant is currently being superv i sed o ut of th e SD / FL and w il l not be retu rni ng to th e 0 / MT.




PART I - ORD ER TRA SFE RRI NG JURI SDI CTION

                                                                                                             Mo ntana
UN ITED STA TES DISTRI CT COU RT FOR THE                                           DISTRICT OF



            IT IS HEREBY ORD ERE D that, pu rsuant to 18 U.S.C. 360 5, the jurisdi ction of the probationer
     or superv ised releasee named above be tra nsferred with the record s of this Co urt to the United States
     District Court fo r the Southern Di stri ct of Florida                               upon that Court's order
     of acceptance of j uri sdiction. Thi s Court hereby express ly consents that the period of probation or
     supervised release may be changed by the District Cowt to which thi s transfer is made without fu11her


                                                                                                          /Le~
     inqu iry of th is court.*
                                        10/4/2024
                                           Date                                                          Uni too S:ates Di str i ct Judge

*This sentence may be de leted in the discreti on o f the tran sferrin g Co urt.



 PART 2 - ORD ER ACCE PT ! 'G J RI SDICTION


UN ITED STA TES DI STRICT COURT FOR THE                    SOUTHERN                DISTRJ CTOF        FLORIDA



           fT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised releasee
     be acce pted and assumed by this Court fro m and after the entry of th is order.


                  .:2/; if /o2s-
                       Effective Date
                                                                                                         =K->
                                                                                                      The Honor able Kaineth A. Marra,
                                                                                                                                                           :---
                                                                                                                                                                  r---
                                                                                                        United S:ates District Judge
            Case: 1:22-cr-00033,
Case 9:25-tp-80012-DMM           Document:
                           Document        2, Filed:
                                    1 Entered        03-17-2022,
                                               on FLSD           Page 1 of 1 Page 2 of 16
                                                         Docket 02/18/2025
      Case 9:25-tp-80012-DMM Document 1 Entered on FLSD Docket 02/18/2025 Page 3 of 16
                 Case 1:22-cr-00033-DLC Document 45 Filed 10/20/22 Page 1 of 6

                                      UNITED STATES DISTRICT COURT
                                                     DISTRICT OF MONTANA
                                                       BILLINGS DIVISION

 UNITED STATES OF AMERICA                                                        JUDGMENT IN A CRIMINAL CASE

 v.
                                                                                 Case Number: CR 22-33-BLG-DLC-1
 ADAM ALEXANDER WILLIAMS                                                         USM Number: 97009-509
                                                                                 Gillian E. Gosch
                                                                                 Defendant’s Attorney


THE DEFENDANT:
 ‫ ܈‬pleaded guilty to count(s)                                 1 of the Indictment
       pleaded nolo contendere to count(s) which was
 ‫܆‬     accepted by the court
       was found guilty on count(s) after a plea of not
 ‫܆‬     guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                    Offense Ended       Count
 49 U.S.C. § 46504 - Interference With Flight Crew Members and Attendants                               01/09/2022          1




The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 ‫ ܆‬The defendant has been found not guilty on count(s)
 ‫ ܆‬Count(s) ‫ ܆‬is ‫ ܆‬are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                   October 20, 2022
                                                                   Date of Imposition of Judgment




                                                                   Signature of Judge

                                                                   Dana L. Christensen, District Judge
                                                                   United States District Court
                                                                   Name and Title of Judge

                                                                   October 20, 2022
                                                                   Date
      Case 9:25-tp-80012-DMM Document 1 Entered on FLSD Docket 02/18/2025 Page 4 of 16
                 Case 1:22-cr-00033-DLC Document 45 Filed 10/20/22 Page 2 of 6
 AO 245B (Rev. 10/21) Judgment in a Criminal Case                                                                Judgment -- Page 2 of 6

DEFENDANT:                 ADAM ALEXANDER WILLIAMS
CASE NUMBER:               CR 22-33-BLG-DLC-1

                                                          PROBATION
The defendant is hereby sentenced to probation for a term of: three (3) years.


                                             MANDATORY CONDITIONS

 1.    You must not commit another federal, state or local crime.
 2.    You must not unlawfully possess a controlled substance.
 3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
       release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

            ‫ ܆‬The above drug testing condition is suspended, based on the court's determination that you pose a low risk of
                  future substance abuse. (check if applicable)
 4.    ‫ ܈‬You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 5.    ‫ ܆‬You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
            seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
            you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 6.    ‫ ܆‬You must participate in an approved program for domestic violence. (check if applicable)
 7.    ‫ ܈‬You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if
            applicable)
 8.    ‫ ܆‬You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
 9.  ‫ ܆‬If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
 10. ‫ ܆‬You must notify the court of any material change in your economic circumstances that might affect your ability to pay
            restitution, fines, or special assessments.

          You must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.
     Case 9:25-tp-80012-DMM Document 1 Entered on FLSD Docket 02/18/2025 Page 5 of 16
                Case 1:22-cr-00033-DLC Document 45 Filed 10/20/22 Page 3 of 6
 AO 245B (Rev. 10/21) Judgment in a Criminal Case                                                                  Judgment -- Page 3 of 6

DEFENDANT:                 ADAM ALEXANDER WILLIAMS
CASE NUMBER:               CR 22-33-BLG-DLC-1

                                 STANDARD CONDITIONS OF PROBATION
As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by
probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a
written copy of this judgment containing these conditions. I understand additional information regarding these
conditions is available at https://www.mtp.uscourts.gov/post-conviction-supervision.


 Defendant’s Signature                                                                             Date
     Case 9:25-tp-80012-DMM Document 1 Entered on FLSD Docket 02/18/2025 Page 6 of 16
                Case 1:22-cr-00033-DLC Document 45 Filed 10/20/22 Page 4 of 6
 AO 245B (Rev. 10/21) Judgment in a Criminal Case                                                Judgment -- Page 4 of 6

DEFENDANT:                 ADAM ALEXANDER WILLIAMS
CASE NUMBER:               CR 22-33-BLG-DLC-1

                                  SPECIAL CONDITIONS OF PROBATION

1.      You must pay restitution in the amount of $14,500.00. You are to make payments at a rate directed by
        United States Probation. Payment shall be made to the Clerk, United States District Court, James F. Battin
        U.S. Courthouse, 2601 2nd Avenue North, Billings, MT 59101 and shall be disbursed to: American
        Airlines, 400 World Way, Los Angeles, California 90045.

2.      You must participate in a program for mental health treatment as approved by the probation officer. You
        must remain in the program until you are released by the probation officer in consultation with the
        treatment provider. You must pay part or all of the costs of this treatment as directed by the probation
        officer.

3.      You must submit your person, residence, place of employment, vehicles, and papers, to a search, with or
        without a warrant by any probation officer based on reasonable suspicion of contraband or evidence in
        violation of a condition of release. Failure to submit to search may be grounds for revocation. You must
        warn any other occupants that the premises may be subject to searches pursuant to this condition. You
        must allow seizure of suspected contraband for further examination.

4.      You must abstain from the consumption of alcohol and are prohibited from entering establishments where
        alcohol is the primary item of sale.

5.      You must participate in substance abuse testing to include not more than 365 urinalysis tests, not more
        than 365 breathalyzer tests, and not more than 36 sweat patch applications annually during the period of
        supervision. You must pay part or all of the costs of testing as directed by the probation officer.

6.      You must participate in and successfully complete a program of substance abuse treatment as approved
        by the probation officer. You must remain in the program until you are released by the probation officer
        in consultation with the treatment provider. You must pay part or all of the costs of this treatment as
        directed by the probation officer.

7.      You must not purchase, possess, use, distribute or administer marijuana, including marijuana that is used
        for recreational or medicinal purposes under state law.

8.      You must not possess, ingest or inhale any psychoactive substances that are not manufactured for human
        consumption for the purpose of altering your mental or physical state. Psychoactive substances include,
        but are not limited to, synthetic marijuana, kratom and/or synthetic stimulants such as bath salts and spice.
     Case 9:25-tp-80012-DMM Document 1 Entered on FLSD Docket 02/18/2025 Page 7 of 16
                Case 1:22-cr-00033-DLC Document 45 Filed 10/20/22 Page 5 of 6
 AO 245B (Rev. 10/21) Judgment in a Criminal Case                                                                         Judgment -- Page 5 of 6

DEFENDANT:                   ADAM ALEXANDER WILLIAMS
CASE NUMBER:                 CR 22-33-BLG-DLC-1

                                        CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments.
                               Assessment                 JVTA               AVAA                 Fine                               Restitution
                                                  Assessment**        Assessment*
 TOTALS                             $100.00              $ 0.00              $ 0.00               $.00                               $14,500.00

           ‫܆‬               The determination of restitution is deferred until  An Amended Judgment in a Criminal Case
                           (AO245C) will be entered after such determination.
                         The defendant must make restitution (including community restitution) to the following payees in the
                          amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
         § 3664(i), all nonfederal victims must be paid before the United States is paid.

Restitution of $14,500.00 to:
American Airlines

 ‫ ܆‬Restitution amount ordered pursuant to plea agreement $
 ‫ ܆‬The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
       the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
       subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 ‫܈‬     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       ‫ ܈‬the interest requirement is waived for the          ‫ ܆‬fine                            ‫ ܈‬restitution
       ‫ ܆‬the interest requirement for the                       ‫ ܆‬fine                                ‫ ܆‬restitution is modified as follows:
*Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
     Case 9:25-tp-80012-DMM Document 1 Entered on FLSD Docket 02/18/2025 Page 8 of 16
                Case 1:22-cr-00033-DLC Document 45 Filed 10/20/22 Page 6 of 6
 AO 245B (Rev. 10/21) Judgment in a Criminal Case                                                                              Judgment -- Page 6 of 6

DEFENDANT:                    ADAM ALEXANDER WILLIAMS
CASE NUMBER:                  CR 22-33-BLG-DLC-1

                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ‫ ܈‬Lump sum payments of $ 100.00 due immediately, balance due
       ‫ ܆‬not later than                                         , or

       ‫ ܈‬in accordance with                ‫܆‬      C,          ‫܆‬        D,       ‫܆‬       E, or       ‫܈‬       F below; or

 B     ‫ ܆‬Payment to begin immediately (may be combined with                     ‫܆‬       C,          ‫܆‬       D, or              ‫܆‬       F below); or

 C     ‫ ܆‬Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                                   (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date of this judgment;
              or

 D     ‫ ܆‬Payment in equal 20 (e.g., weekly, monthly, quarterly) installments of $                                   over a period of
                                (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from
              imprisonment to a term of supervision; or

 E     ‫ ܆‬Payment during the term of supervised release will commence within                        (e.g., 30 or 60 days) after release
              from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
              time; or

 F     ‫ ܈‬Special instructions regarding the payment of criminal monetary penalties:
              Criminal monetary penalty payments are due during imprisonment at the rate of not less than $25.00 per
              quarter, and payment shall be through the Bureau of Prisons’ Inmate Financial Responsibility Program.
              Criminal monetary payments shall be made to the Clerk, United States District Court, James F. Battin
              Courthouse, 2601 2nd Ave North, Ste 1200, Billings, MT 59101 or online at
              https://www.pay.gov/public/form/start/790999918. Please see www.mtd.uscourts.gov/criminal-debt for more
              information on how to pay online.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

  Joint and Several
    See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
    Several Amount, and corresponding payee, if appropriate.

        ‫ ܆‬Defendant shall receive credit on his restitution obligation for recovery from other defendants who contributed to the same
        loss that gave rise to defendant's restitution obligation.
 ‫܆‬      The defendant shall pay the cost of prosecution.
 ‫ ܆‬The defendant shall pay the following court cost(s):
 ‫ ܆‬The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5) fine
principal, (6) fine interest, (7) community restitution, (8) JVTA Assessment, (9) penalties, and (10) costs, including cost of prosecution and court
costs.
CM/ECF - District of Montana LIVE                           https://mtd-ecf.sso.dcn/cgi-bin/DktRpt.pl?466298585669057-L_1_0-1
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                                    Query   Reports   Utilities     Help      What's New          Log Out


                                 U.S. District Court
                            District of Montana (Billings)
                  CRIMINAL DOCKET FOR CASE #: 1:22-cr-00033-DLC-1


         Case title: USA v. Williams                               Date Filed: 03/17/2022

                                                                   Date Terminated: 10/20/2022

         Assigned to: Judge Dana L.
         Christensen

         Defendant (1)
         Adam Alexander Williams                  represented by Gillian E. Gosch
         TERMINATED: 10/20/2022                                  Federal Defenders of Montana
                                                                 175 N. 27th Street
                                                                 Suite 401
                                                                 Billings, MT 59101
                                                                 406-259-2459
                                                                 Email: gillian_gosch@fd.org
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Public Defender or
                                                                 Community Defender
                                                                 Appointment

         Pending Counts                                            Disposition
                                                                   Defendant placed on probation for
         49:46504.F INTERFERENCE                                   a term of 3 years. Standard and
         WITH FLIGHT CREW                                          special conditions imposed.
         MEMBERS AND                                               Restitution ordered in the amount
         ATTENDANTS                                                of $14,500 (interest waived). Fine
         (1)                                                       waived. Special assessment of
                                                                   $100.

         Highest Offense Level


1 of 8                                                                                                   2/18/2025, 11:40 AM
CM/ECF - District of Montana LIVE                          https://mtd-ecf.sso.dcn/cgi-bin/DktRpt.pl?466298585669057-L_1_0-1
           Case 9:25-tp-80012-DMM Document 1 Entered on FLSD Docket 02/18/2025 Page 10 of 16

         (Opening)
         Felony

         Terminated Counts                                        Disposition
         None

         Highest Offense Level
         (Terminated)
         None

         Complaints                                               Disposition
         None


         Plaintiff
         USA                                      represented by Zeno B. Baucus
                                                                 U.S. ATTORNEY'S OFFICE -
                                                                 BILLINGS
                                                                 2601 Second Avenue North
                                                                 Suite 3200
                                                                 Billings, MT 59101
                                                                 406-657-6101
                                                                 Fax: 406-657-6989
                                                                 Email: Zeno.Baucus@usdoj.gov
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Retained

         Date Filed         # Docket Text
         03/17/2022         1 SEALED INDICTMENT as to Adam Alexander Williams (1)
                              count(s) 1. (AMC) (Entered: 03/18/2022)
         03/17/2022         2 Criminal Cover Sheet filed by USA regarding the 1 Indictment
                              (Sealed) as to Adam Alexander Williams. (AMC) (Entered:
                              03/18/2022)
         03/17/2022         3 Redacted Indictment as to Adam Alexander Williams. (AMC)
                              (Entered: 03/18/2022)


2 of 8                                                                                                  2/18/2025, 11:40 AM
CM/ECF - District of Montana LIVE                           https://mtd-ecf.sso.dcn/cgi-bin/DktRpt.pl?466298585669057-L_1_0-1
           Case 9:25-tp-80012-DMM Document 1 Entered on FLSD Docket 02/18/2025 Page 11 of 16

         03/17/2022         4 Summons Issued in case as to Adam Alexander Williams
                              Arraignment set for 4/14/2022 at 09:00 AM in Billings, MT before
                              Magistrate Judge Timothy J. Cavan. (AMC) (Entered: 03/18/2022)
         03/24/2022         5 Summons Returned Executed on 3/24/2022 as to Adam Alexander
                              Williams (AMC) (Entered: 03/24/2022)
         03/28/2022         6 Unopposed MOTION to Appoint Counsel by Adam Alexander
                              Williams. (Attachments: # 1 Text of Proposed Order) (Gosch, Gillian)
                              (Entered: 03/28/2022)
         03/28/2022         7 ORDER APPOINTING FEDERAL PUBLIC DEFENDER Gillian E.
                              Gosch as to Adam Alexander Williams for the arraignment on
                              4/14/2022. Upon completion of the CJA 23 Form by the Defendant,
                              the Court will determine whether the Federal Defenders will be
                              appointed to represent the Defendant for all further proceedings.
                              Reimbursement information: Defendant is not required to reimburse
                              the Court. Signed by Magistrate Judge Timothy J. Cavan on
                              3/28/2022. (JDH) (Entered: 03/28/2022)
         03/29/2022         8 CJA 23 Financial Affidavit by Adam Alexander Williams (Gosch,
                              Gillian) (Entered: 03/29/2022)
         03/31/2022         9 Second MOTION to Appoint Counsel by Adam Alexander Williams.
                              (Attachments: # 1 Text of Proposed Order) (Gosch, Gillian) (Entered:
                              03/31/2022)
         03/31/2022 10 ORDER granting 9 Motion to Appoint Counsel as to Adam
                       Alexander Williams (1). Gillian E. Gosch for Adam Alexander
                       Williams appointed. Signed by Magistrate Judge Timothy J. Cavan
                       on 3/31/2022. (JDH) (Entered: 03/31/2022)
         04/06/2022 11 MOTION to Have the United States Marshals Pay Transportation
                       Fees or in the Alternative Allow Defendant to Appear Remotely by
                       Adam Alexander Williams. (Attachments: # 1 Text of Proposed
                       Order) (Gosch, Gillian) (Entered: 04/06/2022)
         04/07/2022 12 ORDER as to Adam Alexander Williams re 11 MOTION to Have the
                       United States Marshals Pay Transportation Fees or in the Alternative
                       Allow Defendant to Appear Remotely filed by Adam Alexander
                       Williams. If the United States opposes, it shall file a response
                       explaining its objection or indicate no objection by April 11, 2022.
                       Signed by Magistrate Judge Timothy J. Cavan on 4/7/2022. (JDH)
                       (Entered: 04/07/2022)


3 of 8                                                                                                   2/18/2025, 11:40 AM
CM/ECF - District of Montana LIVE                           https://mtd-ecf.sso.dcn/cgi-bin/DktRpt.pl?466298585669057-L_1_0-1
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         04/08/2022 13 BRIEF/RESPONSE TO ORDER by USA as to Adam Alexander
                       Williams (Baucus, Zeno) (Entered: 04/08/2022)
         04/13/2022 14 ORDER granting 11 Motion to Have the United States Marshals Pay
                       Transportation Fees of in the Alternative Allow Defendant to Appear
                       Remotely as to Adam Alexander Williams (1). The arraignment
                       presently set for April 14, 2022, is CONTINUED to April 20, 2022,
                       at 2:00 p.m. Defense counsel shall arrange for Defendant to appear by
                       video from the United States District Court in Tacoma, Washington,
                       on April 20, 2022. Signed by Magistrate Judge Timothy J. Cavan on
                       4/13/2022. (JDH) (Entered: 04/13/2022)
         04/13/2022             RESET Hearing as to Adam Alexander Williams. Arraignment
                                RESET for 4/20/2022 at 02:00 PM in Billings, MT before Magistrate
                                Judge Timothy J. Cavan. (JDH) (Entered: 04/13/2022)
         04/20/2022 15 MINUTE ENTRY for proceedings held before Magistrate Judge
                       Timothy J. Cavan: Arraignment as to Adam Alexander Williams (1)
                       Count 1 held on 4/20/2022. Defendant is present, in custody, and
                       appearing with FD Steven Babcock; AUSA Zeno Baucus appearing
                       for the government. Deft is appearing by video conference from the
                       US Courts in Tacoma, Washington and does not object. There is no
                       objection by the government or defense counsel. Deft acknowledges
                       his true name; is advised of his rights, previous appoint of FD Gillian
                       Gosch will continue. Deft has received and reviewed the Indictment
                       with counsel or staff; waives a formal reading and is advised of the
                       maximum penalties possible. NOT GUILTY plea entered by
                       Defendant to Count 1. USA agrees with continued release of
                       Defendant, pending further proceedings. Conditions of released
                       outlined on the record. The Court orders the government to comply
                       with Rule 5(f). A written order to follow. Hearing commenced at 2:33
                       PM and concluded at 2:47 PM (Court Reporter FTR Gold) (USPO:
                       Cameron Peters), (Hearing held in Billings-Big Horn Courtroom)
                       (JLE) (Entered: 04/20/2022)
         04/20/2022 16 ORDER Setting Conditions of Release as to Adam Alexander
                       Williams. Signed by Magistrate Judge Timothy J. Cavan on
                       4/20/2022. (JDH) (Entered: 04/20/2022)
         04/20/2022 18 TEXT Order Setting as to Adam Alexander Williams. TELEPHONIC
                       Preliminary Pretrial Conference set for 4/27/2022 at 10:15 AM in
                       Missoula, MT before Judge Dana L. Christensen. Signed by
                       Magistrate Judge Timothy J. Cavan on 4/20/2022. (JDH) (Entered:


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                                04/20/2022)
         04/21/2022 19 Notice of Discovery Request by Adam Alexander Williams (Gosch,
                       Gillian) (Entered: 04/21/2022)
         04/27/2022 20 SCHEDULING ORDER as to Adam Alexander Williams: Discovery
                       due 4/29/2022. Motions due by 5/13/2022. Plea Agreement due by
                       6/2/2022. Jury Trial set for 6/13/2022 at 09:00 AM in Billings, MT
                       before Judge Dana L. Christensen. Signed by Judge Dana L.
                       Christensen on 4/27/2022. (ASG) Modified on 4/27/2022 to correctly
                       reflect trial location in Billings, not Missoula. (ASG). (Entered:
                       04/27/2022)
         04/27/2022             Set/Reset Hearings as to Adam Alexander Williams: Jury Trial set for
                                6/13/2022 at 09:00 AM in Billings, MT before Judge Dana L.
                                Christensen. (ASG) (Entered: 04/27/2022)
         05/09/2022 21 Unopposed MOTION to Continue Trial and Extend Pretrial
                       Deadlines by Adam Alexander Williams. (Attachments: # 1 Text of
                       Proposed Order) (Gosch, Gillian) (Entered: 05/09/2022)
         05/10/2022 22 ORDER granting 21 Motion to Continue as to Adam Alexander
                       Williams (1) Motions due by 7/29/2022. Plea Agreement due by
                       8/18/2022. Jury Trial set for 8/29/2022 at 09:00 AM in Billings, MT
                       before Judge Dana L. Christensen.. Signed by Judge Dana L.
                       Christensen on 5/10/2022. (KJL) (Entered: 05/10/2022)
         06/01/2022 23 Unopposed MOTION to Withdraw as Attorney and Appointment of
                       CJA Panel Attorney by Gillian E. Gosch. by Adam Alexander
                       Williams. (Attachments: # 1 Text of Proposed Order) (Gosch, Gillian)
                       (Entered: 06/01/2022)
         06/06/2022 24 ORDER Setting Hearing on 23 Unopposed MOTION to Withdraw as
                       Attorney and Appointment of CJA Panel Attorney by Gillian E.
                       Gosch. : as to Adam Alexander Williams. Motion Hearing set for
                       6/14/2022 at 03:00 PM in Missoula, MT before Judge Dana L.
                       Christensen.. Signed by Judge Dana L. Christensen on 6/6/2022.
                       (KJL) (Entered: 06/06/2022)
         06/07/2022 25 Unopposed MOTION to Withdraw Document Motion to Withdraw as
                       Counsel and Vacate Hearing by Adam Alexander Williams.
                       (Attachments: # 1 Text of Proposed Order, # 2 Exhibit Williams
                       Email) (Gosch, Gillian) (Entered: 06/07/2022)
         06/07/2022 26 ORDER granting 25 MOTION to Withdraw 23 MOTION to
                       Withdraw as Attorney; Vacating hearing set for June 14, 2022 at 3:00

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                                p.m. Gillian E. Gosch and the Federal Defenders of Montana shall
                                remain as counsel of record for all legal duties to Adam Alexander
                                Williams. Signed by Judge Dana L. Christensen on 6/7/2022. (TAG)
                                (Entered: 06/07/2022)
         06/09/2022 27 MOTION TO CHANGE PLEA by Adam Alexander Williams.
                       (Attachments: # 1 Text of Proposed Order) (Gosch, Gillian) (Entered:
                       06/09/2022)
         06/09/2022 28 PLEA AGREEMENT as to Adam Alexander Williams (KJL)
                       (Entered: 06/09/2022)
         06/10/2022 29 ORDER REFERRING CASE to Magistrate Judge Timothy J. Cavan
                       as to Adam Alexander Williams Motions referred to Timothy J.
                       Cavan.. Signed by Judge Dana L. Christensen on 6/10/2022. (KJL)
                       (Entered: 06/10/2022)
         06/10/2022 30 ORDER SETTING CHANGE OF PLEA HEARING as to Adam
                       Alexander Williams. Change of Plea Hearing set for 6/30/2022 at
                       09:00 AM in Billings, MT before Magistrate Judge Timothy J.
                       Cavan.. Signed by Magistrate Judge Timothy J. Cavan on 6/10/2022.
                       (JDH) (Entered: 06/10/2022)
         06/10/2022 31 Unopposed MOTION for Leave to Appear Video for Change of Plea
                       Hearing Attorney: Gillian E. Gosch. by Adam Alexander Williams.
                       Motions referred to Timothy J. Cavan. (Attachments: # 1 Text of
                       Proposed Order) (Gosch, Gillian) (Entered: 06/10/2022)
         06/13/2022 32 ORDER denying 31 Motion for Leave to Appear by Video as to
                       Adam Alexander Williams (1). IT IS ORDERED that Defendant's
                       motion to appear via video is DENIED without prejudice. Signed by
                       Magistrate Judge Timothy J. Cavan on 6/13/2022. (JDH) (Entered:
                       06/13/2022)
         06/16/2022 33 Second MOTION for Leave to Appear Video by Adam Alexander
                       Williams. Motions referred to Timothy J. Cavan. (Attachments: # 1
                       Text of Proposed Order Order Allowing Defendant to Appear Via
                       Video) (Gosch, Gillian) (Entered: 06/16/2022)
         06/16/2022 34 ORDER granting 33 Motion for Leave to Appear Video as to Adam
                       Alexander Williams (1). Defendant will appear by video for the
                       change of plea hearing on June 30, 2022, at 9:00 a.m. Signed by
                       Magistrate Judge Timothy J. Cavan on 6/16/2022. (JDH) (Entered:
                       06/16/2022)



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         06/28/2022 35 OFFER OF PROOF as to Adam Alexander Williams (Baucus, Zeno)
                       (Entered: 06/28/2022)
         06/30/2022 36 MINUTE ENTRY for proceedings held before Magistrate Judge
                       Timothy J. Cavan: Change of Plea Hearing as to Adam Alexander
                       Williams held on 6/30/2022. Defendant is present, on pretrial release,
                       and appearing with FD Gillian Gosch; AUSA Zeno Baucus appearing
                       for the government. Deft is appearing by video conference from
                       Washington's US District Courthouse and does not object. There is no
                       objection by the government or defense counsel. Deft consents to
                       USMJ. Plea Agreement outlined. Deft is sworn in and answers
                       standard questions given by the Court. Deft is advised of his rights,
                       rights waived and lost, and maximum penalties. Govt reads the
                       elements and offer of proof into the record. The Deft states his guilt.
                       The Court finds the Deft competent to enter the plea. Deft
                       understands charges/penalties and rights forfeited. Deft enters
                       GUILTY plea to Count 1 of the Indictment. The Court to recommend
                       that Judge Christensen accept the guilty plea. Deft is advised of the
                       14-day objection deadline. Deft is advised of the PSR procedure. Deft
                       will continue release pending sentencing. Hearing commenced at
                       10:18 AM and concluded at 10:50 AM (Court Reporter FTR Gold)
                       (USPO: McKenna Arledge), (Law Clerk: Lauren Amongero),
                       (Hearing held in Billings-Big Horn Courtroom) (JLE) (Entered:
                       06/30/2022)
         06/30/2022 37 CONSENT TO proceed before a Magistrate Judge for a Guilty Plea
                       as to Adam Alexander Williams (JDH) (Entered: 06/30/2022)
         06/30/2022 38 Order Setting as to Adam Alexander Williams: Sentencing set for
                       10/20/2022 at 03:00 PM in Billings, MT before Judge Dana L.
                       Christensen. Signed by Judge Dana L. Christensen on 6/30/2022.
                       (ASG) (Entered: 06/30/2022)
         06/30/2022 39 FINDINGS AND RECOMMENDATIONS on Plea of Guilty as to
                       Adam Alexander Williams. Signed by Magistrate Judge Timothy J.
                       Cavan on 6/30/2022. (JDH) (Entered: 06/30/2022)
         07/21/2022 40 ORDER granting 27 Motion to Change Plea and adopting Findings
                       and Recommendations 39 on Plea of Guilty as to Adam Alexander
                       Williams (1). Signed by Judge Dana L. Christensen on 7/21/2022.
                       (KJL) (Entered: 07/21/2022)




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         07/28/2022 41 Evaluation Filed Under Seal Psychological Evaluation by Adam
                       Alexander Williams (Gosch, Gillian) (Entered: 07/28/2022)
         08/17/2022             Terminate Deadlines and Hearings as to Adam Alexander
                                Williams:Motions Deadline (KJL) (Entered: 08/17/2022)
         10/11/2022 42 SENTENCING MEMORANDUM by USA as to Adam Alexander
                       Williams (Baucus, Zeno) (Entered: 10/11/2022)
         10/11/2022 43 SENTENCING MEMORANDUM by Adam Alexander Williams
                       (Gosch, Gillian) (Entered: 10/11/2022)
         10/20/2022 44 MINUTE ENTRY for proceedings held before Judge Dana L.
                       Christensen: Sentencing held on 10/20/2022 for Adam Alexander
                       Williams. Released defendant appearing with FD Gillian Gosch,
                       AUSA Julie Patten appearing for Government. No objections to PSR.
                       Plea agreement accepted. Court reviews statutory and guideline
                       calculations. Court reviews 3553(a) factors. Defendant placed on
                       probation for a term of 3 years. Standard and special conditions
                       imposed. Restitution ordered in the amount of $14,500 (interest
                       waived). Fine waived. Special assessment of $100. Right of appeal
                       waived/advised. Court is in recess. Hearing commenced at 2:56pm
                       and concluded at 3:13pm. Presentence Report due by 10/27/2022.
                       (Court Reporter JoAnn Corson) (USPO: M. Arledge), (Law Clerk: C.
                       Lawson), (Hearing held in Billings, MT) (ASG) (Entered:
                       10/20/2022)
         10/20/2022 45 JUDGMENT as to Adam Alexander Williams: Defendant placed on
                       probation for a term of 3 years. Standard and special conditions
                       imposed. Restitution ordered in the amount of $14,500 (interest
                       waived). Fine waived. Special assessment of $100. Signed by Judge
                       Dana L. Christensen on 10/20/2022. (ASG) (Entered: 10/20/2022)
         10/20/2022 46 STATEMENT OF REASONS as to Adam Alexander Williams.
                       Signed by Judge Dana L. Christensen on 10/20/2022. (ASG)
                       (Entered: 10/20/2022)
         10/20/2022 47 Judgment Restitution Payee Information as to Adam Alexander
                       Williams re 45 Judgment. Signed by Judge Dana L. Christensen on
                       10/20/2022. (ASG) (Entered: 10/20/2022)
         10/20/2022 48 PRESENTENCE INVESTIGATION REPORT (Sealed) as to Adam
                       Alexander Williams. (sealed emailed to both counsel) (AMC)
                       (Entered: 10/20/2022)


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